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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST                §
DISTRIBUTION SYSTEMS, LLC           §
                                    §
      Plaintiff,                    §                Case No: 1:19-cv-00378-RGA
                                    §
vs.                                 §
                                    §
ZMODO US HOLDINGS, LLC              §                JURY TRIAL DEMANDED
                                    §
      Defendant.                    §
___________________________________ §


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems LLC hereby files this Notice of

Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).

According to Rule 41(a)(1)(A)(i), an action may be dismissed by the plaintiff without order of

court by filing a notice of dismissal at any time before service by the adverse party of an answer.

Accordingly, Rothschild Broadcast Distribution Systems LLC hereby voluntarily dismisses this

action against Zmodo US Holdings, LLC, without prejudice, pursuant to Rule 41(a)(1)(A)(i) with

each party to bear its own fees and costs.

Dated: May 8, 2019                           Respectfully submitted,

                                             DEVLIN LAW FIRM LLC

                                             /s/ Timothy Devlin
                                             Timothy Devlin (#4241)
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                                             ATTORNEY FOR PLAINTIFF
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     SO ORDERED, this ___________ day of May, 2019.


                                  ____________________________________
                                  Judge - United States District Court
